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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )        CRIMINAL ACTION NO.
   v.                               )            2:12cr84-MHT
                                    )                (WO)
COURTNEY JOHNSON                    )


                                ORDER

       Defendant   Courtney     Johnson       having    pled    guilty

today to the charge in the revocation petition (doc.

no. 368), it is ORDERED that sentencing shall resume on

June 26, 2015, at 10:00 a.m. in Courtroom 2FMJ of the

Frank M. Johnson Jr. United States Courthouse Complex,

One Church Street, Montgomery, Alabama.                 On or before

June 24, 2015, the parties are to submit a habilitation

plan    for   defendant     Johnson     to    address     his   mental

disability.

       DONE, this the 4th day of June, 2015.

                                     /s/ Myron H. Thompson___
                                 UNITED STATES DISTRICT JUDGE
